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UNITED STATES OF .AMERICA,

Plaintiff,
v. Case Number 04-20306-Ma
LARRY WILBORN,

Defendant.

J'UDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that the Indictment returned
against Larry Wilborn is dismissed in accordance with the Order
docketed June 2, 2005.

APPROVED:

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SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

md :, mg HOBERT R. mmouo

(DATE) CLERK

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-20306 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

